

Confession of Error

PER CURIAM.
A.B. appeals an order entered after bench trial which found him guilty, withheld adjudication, and placed him on community control. After diligent search, the court reporter has been unable to locate the C.D. disk recording of the trial, and the parties have been unable to reconstruct the record in a manner which would allow appellate review. Under the circumstances, the State concedes that a new trial must be ordered. Delap v. State, 350 So.2d 462, 463 (Fla.1977); Fairell v. State, 662 So.2d 428 (Fla. 3d DCA 1995); Jackson v. State, 308 So.2d 600 (Fla. 3d DCA 1975).
Reversed and remanded for a new trial.
